
PER CURIAM.
The application for reconsideration is denied. Relator’s original writ application in this court was filed on February 6, 2001, sixty-two days after the court of appeal denied his writ application on December 6, 2000 and well outside of the thirty day period mandated by Supreme Court Rule X, § 5. Although relator’s application in this court was filed within thirty days from the court of appeal’s denial of rehearing, Supreme Court Rule X, § 5(a) extends the thirty day period for taking writs to this court only “in those instances where a rehearing is allowed” in the court of appeal. Uniform Court of Appeal Rules 4-9 and 2-18.7 do not provide for a rehearing from a denial of an application for supervisory writs.1 Accordingly, the delay for taking writs to this court ran from the court of appeal’s original writ denial, not its denial of rehearing.

. We recognize the court of appeal’s writ denial in this case was done with an opinion; however, the court’s decree makes it clear that its ultimate holding was to deny the application for supervisory writs.

